Case 4:16-cv-00036-SWW Document 50-5 Filed 10/19/16 Page 1 of 7

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF ARKANSAS

WESTERN DIVISION
BETTY HUMPHREY PLAINTIFF
VS. NO. 4:16-CV-0036-S WW
CENTERS FOR YOUTH AND FAMILIES, INC., DEFENDANTS

MELVIN CALDWELL’S AFFIDAVIT

STATE OF ARKANSAS)

)
COUNTY OF PULASKI)

I, Melvin Caldwell, do hereby state under oath as follows:

ly That I am Melvin Caldwell, and I am a neutral witness in the above-

captioned case.

2 That I am an African-American male, and, I am above the age of
Forty (40).
3. That I hereby swear and affirm that the contents and statements made

by me are true and correct.

4, That I specifically state that I began my employment at Centers for

Youth and Families, Inc., in 1994, making about Seven dollars ($7.00) per hour.
Case 4:16-cv-00036-SWW Document 50-5 Filed 10/19/16 Page 2 of 7

Di That I was terminated in 2013, by Centers for Youth and Families,
Inc., and, my termination by Centers for Youth and Families Inc., was proper.

6. That I held the position of Staff Development Coordinator at Centers
for Youth and Families, Inc. (hereinafter “Centers”), for more than thirteen (13)
years.

7. That as part of my job duties, I viewed surveillance videos of
employees who had contacts with the clients of Centers for Youth and Families,
Inc.

8. That I taught Handle With Care (HWC) for about eight (8) to ten (10)
years, and | am very familiar with HWC principles and techniques taught by
Centers for Youth and Families, Inc. from the time of my employment to the time
of my termination.

9. That 1 personally taught Betty Humphrey about twice (2) a year in
HWC principles and techniques.

10. That I have known Betty Humphrey for about thirteen (13) years and
have known her to be a valuable employee with solid work ethics, and team player
while she was an employee at Centers.

ll. That I have viewed the surveillance video of the incident in

questioned, with QM on August 13, 2013; the one of the things that

stood out to me is the blacked out section of the video; that this is not a normal

 

 
Case 4:16-cv-00036-SWW Document 50-5 Filed 10/19/16 Page 3 of 7

occurrence in the other videos I viewed with Centers’, and the camera must have
malfunctioned recording the incident between Betty Humphrey and Qi?
on August 13, 2013.

12. That due to the camera malfunctioning, there are certain sequences
that are missing and there is no way to recover the segment that was blacked out;
there is no way of knowing what specific acts are missing from the video; that
based on my personal experience at Centers, old cameras malfunction often.

13. That based on word of mouth, I believe that Centers now have
upgraded their cameras to fix the blacked out issue, and, we will never know what
is missing from the video.

14. That based on what I saw in the video, Betty Humphrey interaction
with the client, ay. was as | taught her; that she feared that imminent
danger of serious bodily harm could occur to her; that this is a subjective standard,
like a police officer who fears for their life.

15. That I taught every Staff Member with Centers, they have a right, by
HWC policy and by law, to defend himself or herself when they feel an imminent
danger of harm posed by a client’s hostile and threatening behavior.

16. That Bruce Chapman, the founder of HWC, taught the same principle,

that each Staff Member, has a right to protect themselves.

 

 

 
Case 4:16-cv-00036-SWW Document 50-5 Filed 10/19/16 Page 4 of 7

17. That Betty Humphrey did what was taught to her by me personally;

that she firmly grabbed hold to the client’s shirt to de-escalate, direct, and manage
GHEE behavior because she felt imminent danger of harm.

18. That Betty Humphrey should not have been terminated and a
termination would not have been proper; that I would have recommended that
Betty go back through the training for protocol and refresher; and termination of
Betty Humphrey was because of her race and age.

19. That going back through the training is a normal procedure after an
Emergency Safety Invention (ESI).

20. That based on my experience, knowledge, and belief, there was no
legitimate reason to terminate Betty for this incident, especially since the
disruptive client was not injured in any way.

21. That I have reviewed between 50 to 100 surveillance videos in my
Nineteen (19) years at Centers; that in these type of situations like Betty
Humphrey’s, termination is generally never recommended by the supervisor.

22. That I do know of several situations where Centers have arbitrarily
and randomly terminated people for improper and illegal holds, including use of
excessive force.

23. That I do know of several situations where Centers has sent people

back for retraining by me or have me work with them in one-on-one sessions to

 

 
Case 4:16-cv-00036-SWW Document 50-5 Filed 10/19/16 Page 5 of 7

talk about the incident and how the situation could have been handled in a different
manner. I believe that this would be a HIPPA violation of the client’s right to
privacy to do this in a group setting, and I would not show any videos of this
nature in a group setting.

24. That Betty Humphrey’s hold was neither improper, nor illegal, nor an
excessive use of force under the circumstances of her belief that she was being
threatened by the disruptive client with imminent bodily harm.

25. That the surveillance video I viewed in this case had no audio, which I
found strange because the videos always had audio; that when I was in charge of
the Monticello operation for Centers, | could view videos from my Little Rock
office and hear and see what happened, unfortunately, there was no audio on this
defective surveillance video involving Betty Humphrey.

26. That I believe that Betty Humphrey is the only person who can
describe what she felt at that moment in the video; that we can only take her word
for her mental state at that time.

27. That I have been threatened by clients at Centers before myself; that |
have done physical holds on disruptive clients myself; in fact, Tim Scott had to
rescue me from an attack by a young female client; that a girl was coming to attack
me right after | returned to work from having surgery, and Tim Scott heard

hollering down the hallway; that it was me hollering for help; that I felt at risk and

 

 

 
Case 4:16-cv-00036-SWW Document 50-5 Filed 10/19/16 Page 6 of 7

I felt that imminent danger of harm would have happened in the classroom if Tim

had not come to save me; in fact, Tim had to use CPI, a child control to rescue me

from the attack.
That I do know that Centers have terminated people for pretextual

28.
reasons in order to cover the real reasons for termination; that they have terminated

Thaddeus Spraggins and hired David Harley, Tim Beashears friend in his position;
that in fact, Thaddeus Spraggins trained David Harley for his position; I believe

that it was under a pretext that Centers terminated Thaddeus after nine (9) years

and hired Tim’s friend David.
I believe that if the client was disruptive and throwing rocks at other

2.
clients, he should have been in the Time-Out Room, not Betty’s classroom.

IN WITNESS WHEREOF, I have hereunto set my hand and seal this 13-7.

day of Octole ,2016.

Melvin Caldwell

VERIFICATION AND ATTESTATION
Subscribed and Sworn to before me, a Nata: Pubtic,, this 45 g day of
: ie ‘s “ASK is Me

) - i 4 ~ 8
Mitel») _,2016. s i
ES} "72>, .
= ot A 2 "CB a, :
re 2
# t
vy ™ 4

&
¢

gu

    

 

 
Case 4:16-cv-00036-SWW Document 50-5 Filed 10/19/16 Page 7 of 7

pa \ p»C :
Cu kb ane ~—

Notary Public

Qtr eg

 

    
  

 

MY COMMISSIQN EXPIRES: TRE ge,
, Pe path Casts.
b 7/1 Y 0] ? re vias
/ { A No
